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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )          8:04CR167
                                        )
            Plaintiff,                  )
                                        )
vs.                                     )          ORDER
                                        )
RONALD JACKSON,                         )
PHILIP MOORE,                           )
RICHARD TIBBS,                          )
                                        )
            Defendants.                 )

       IT IS ORDERED that the government’s motion to dismiss superseding
indictment as to Defendants Ronald Jackson, Philip Moore and Richard Tibbs (filing
155) is granted.

      DATED this 25th day of April, 2005.

                                            BY THE COURT:

                                            s/ Richard G. Kopf
                                            United States District Judge
